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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                 10/21/2020


MAGALI CINTRON,

                                            Plaintiff,                20-CV-5433 (AJN)(SN)

                          -against-                                  ORDER OF SERVICE AND
                                                                      SCHEDULING ORDER
COMMISSIONER OF SOCIAL SECURITY,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        The Clerk of Court shall notify the U.S. Attorney's Office for the Southern District of

New York of the filing of this pro se case, brought pursuant to 42 U.S.C. § 405(g), for which

the filing fee has been waived.

        Within 90 days of the date of this Order, the Commissioner must serve and file the

Electronic Certified Administrative Record (e-CAR), which will constitute the

Commissioner's answer, or otherwise move against the complaint.

        If the Commissioner wishes to file a motion for judgment on the pleadings, the

Commissioner must do so within 60 days of the date on which the e-CAR was filed. The

motion must contain a full recitation of the relevant facts and a full description of the

underlying administrative proceeding.

        The plaintiff must file an answering brief within 60 days of the filing of the

Commissioner's motion. The Commissioner may file a reply within 21 days thereafter.

        Memoranda in support of or in opposition to any dispositive motion may not exceed

25 pages in length; reply memoranda may not exceed ten pages in length. A party seeking to
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exceed these page limitations must apply to the Court for leave to do so, with copies to all

counsel, no fewer than seven days before the date on which the memorandum is due.

       Requests for extensions of the deadlines set by this scheduling order may be granted by

the Court, but only if they are made in advance of the deadline and there is a good reason

provided for the request. Such requests shall be submitted in accordance with the Individual

Practices of Judge Netburn.

       The Pro Se Office at the United States Courthouse, 500 Pearl Street, New York, NY

((212) 805-0175) may be of assistance to the Plaintiff in connection with court procedures. The

Plaintiff is also encouraged to review the Court’s manual “How to Appeal a Social Security/SSI

Disability Case,” available at http://nysd.uscourts.gov/file/forms/how-to-appeal-a-social-

security-ssi-disability-case and at the Pro Se Office.

SO ORDERED.




DATED:         October 21, 2020
               New York, New York




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